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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF LOUISIANA


PETER K. HANSCHE                           *     NO.:19-12655

VERSUS                                     *     SECTION: “A”

CITY OF NEW ORLEANS and                    *     JUDGE: JAY C. ZAINEY
LT. JIMMIE L. TURNER
                                           *     MAGISTRATE: 5
                                                 MICHAEL NORTH
            *     *     *      *     *     *     *   *   *

                MEMORANDUM IN OPPOSITION TO
                JUDICIAL NOTICE AND TO EXCLUDE

      MAY IT PLEASE THE COURT,

      This matter is before the court on plaintiff’s Federal Complaint for racial

discrimination, Sexual Harassment, Hostile work Environment and

Retaliation pursuant to Title VII of the Civil Rights Act of 1964, as amended,

42 U.S.C. §2000e et seq. and his pendent state claim for sexual assault, per

La.Civ.C. Article 3496.2.

                            BRIEF SUMMARY

      Defendant Turner is employed by the New Orleans Police Department

for the Parish of Orleans. A complaint was lodged against defendant Turner

for allegedly violating Departmental Policy The alleged incident occurred in

September 2016, then 10/2016 thru 10/2017. The last incident occurred

approximately 432 later on or about 11/2017 or 12/2017. The plaintiff filed a
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complaint with PIB, in which an internal investigation was initiated into policy

violation.

      On February 5, 2018, a formal hearing was held before the hearing

officer and trier of fact, Jay Ginseng, who subsequently filed his report, on

August 25, 2019, in favor on the defendant, Turner, noting, NOPD failed to

meet its burden of proof.

      On December 10, 2019, the Board of Commissioners, positioned as the

administrative appeal body, reviewed the administrative hearing transcript

and reevaluated the evidence.        The Board, thereafter, substituted its

evidentiary finding in opposition to the trier of fact finding and conclusions

and denied Turner’s appeal, though an opinion was provided.

      On August 14, 2020, defendant Turner appealed the Board’s decision to

the 4th Circuit Court of Appeal, who on March 3, 2021, affirmed in part, the

suspension and reversed in part, defendant’s demotion.

      In March, 2021, defendant Turner took Writs to the Louisiana Supreme

Court, who on June 28, 2021 reversed the 4th Circuit Court of Appeals decision

and reinstated the Commissioned judgement.

      On July 290, 2021, the plaintiff filed his Motion for Judicial Notice and

to Exclude Elizabeth Garcia testimony and the exclusion of the entire Civil

Service Hearing Transcript on the basis of relevancy and altermnatively
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unfairly prejudicial to plaintiff’s case, if relevant, pursuant to FRE 403.

                            STANARD OF LAW

      Federal Rule of Evidence 201 allows a district court to take judicial

notice of a "fact that is not subject to reasonable dispute because it (1) is

generally known within the trial court's territorial jurisdiction; or (2) can be

accurately and readily determined from sources whose accuracy cannot

reasonably be questioned." FED. R. EVID. 201(b). Rule 201(g) provides, in

pertinent part, '. . . the jury may, but is not required to, accept as conclusive

any fact judicially noticed.'

       Federal Rule of Evidence 403 provides the court with discretion to

exclude relevant evidence if its probative value is substantially outweighed by

a danger of one or more of the following: unfair prejudice, confusing the

issues, misleading the jury, undue delay, wasting time, or needlessly

presenting cumulative evidence. Unfair Prejudice has been defined as “an

undue tendency to suggest decision on an improper basis, commonly, though

not necessarily, an emotional one”). See United States v. Brandon, 521

F.3d 1019, 1026 (8th Cir. 2008) (unfair prejudice refers not to “legitimate

probative force” of evidence, but to “its capacity to lure a jury into declaring

guilt for an improper reason”), cert. denied, 129 S. Ct. 314; United States v.

Huyck, 849 F.3d 432 (8th Cir. 2017) (describing unfair prejudice in terms of
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evidence “so inflammatory on its face” that it would divert jury from material

issues). Evidence may be excluded where it is likely to confuse or mislead the

jury, such as by distracting them with immaterial or side issues. See, e.g.,

United States v. Zayyad, 741 F.3d 452, 462 (4th Cir. 2014).

                                ARGUMENT

      The administrative proceeding of defendant Turner’s alleged violation

of departmental policy was just that and nothing beyond his alleged conduct.

The proceeding did not embrace the required evidentiary standard of proof of

the alleged offense but rather whether the alleged offense fell within the

meaning of departmental policy. The evidence submitted at the hearing is not

reliable as to the offense itself but limited to its determination to an alleged

policy violation.

      In support of this argument, consider the investigation in which he

hearing was based. Turner was investigated for Rule 2: Moral Conduct,

paragraph 2: Courtesy, which was unfounded; Rule 2: Moral Conduct,

paragraph 4: Discrimination, which was also unfounded; Rule 3: Professional

Conduct, paragraph1: Professionalism, which unfounded; and Rule 4:

Performance of Duty, paragraph 2: Instructions from an Authoritative Source

to-wit:   NOPD      Policy/Procedure     328    Workplace     Discrimination

Harassment/Retaliation, which was sustained. The merits of the offense was
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never adjudicated but only the limited scope of the policy violation pertaining

to the alleged conduct was determined.

      The 4th Circuit Court of Appeals determined that the defendant violated

departmental policy as written and amended the sanction to an additional 5

day suspension for each violation. An evaluation and determination of

discriminatory conduct was not judicially proven under Title VII.

      The evidence sought to be excluded goes to the merit of the offensive

conduct alleged in the complaint. The prejudicial effect, if any, I the plaintiff’s

confession that the conduct never rose to the level of his asserted calim. The

probative value of the evidence to be introduce is directly linked to the merits

of the case and its introduction is required for a fair determination of the

issues before the court. The evidence to be introduce has been provided by the

plaintiff and the witnesses but was not considered in the determination of

departmental policy violation. Prior testimony, which is relevant, by nature

is prejudicial to the opposing party.

      In so noting, plaintiff has argued to the court that the City made certain

allegations against defendant Turner during the administrative process and

during this process has requested a stipulation as to those allegations. There

is no variance between the two that will cause a different affect or out come as

pled herein by defendants. It is the plaintiff’s intent, as we, to use prior
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evidence from the administrative proceeding to prove and disprove a fact

asserted by the opposing party.

      Judicial notice of a "fact that is not subject to reasonable dispute because

it (1) is generally known within the trial court's territorial jurisdiction; or (2)

can be accurately and readily determined from sources whose accuracy cannot

reasonably be questioned may be granted. However, the administrative

proceeding determining whether Turner violated departmental policy is a fact

subject to reasonable dispute since its scope was limited to policy concerns

and not statutory determinative acts.        It should also be notd that the

conclusion of the administrative process constitutes a limited scope of

resolution and its accuracy as to the merit of a violative act under Title VII can

reasonably be questioned.

                                CONCLUSION

      The plaintiff’s motion for judicial notice and to exclude certain evidence

from being admitted at trial should be denied for reasons stated herein.

                                      Respectfully submitted,
                                      Law Office of Willard J. Brown, Sr.

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                               CERTIFICATE

     I hereby certify that on this 11th day of August, 2021, I electronically filed

the foregoing Memorandum in Opposition to Motion for Judicial Notice and

to Excludd, with the Clerk of Court, by using the CM/ECF system which will

send a notice of electronic filing to all counsel of record in this matter. I

further certify that I mailed the foregoing document and notice of electronic

filings by first class mail to the following non-CM/ECF participant: Jammie

L. Turner

/s/ Willard J. Brown, Sr.
Willard J. Brown, Sr.
